                        nUNITED STATE DISTRICT COURT
                         DISTRICT OF EAST TENNESSEE ,.:.:
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                               AT GREENVILLE
                                                             ZOIS SEP -2 P 2: Ltb
 LYLE HUNTINGTON RICHARDSON                           )         f~.;-1.      rv -~- rr·.;ic T ·~:c:t~:<:
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 SMITH and CAROLYN STEVENS                            )
 RICHARDSON SMITH PUCKETT,                            )
                                                      )
                                                      )
 PLAINTIFFS,                                          )
                                                      )
 v.                                                   )      Civil No. }. IS-( -J, d- q \
                                                      )
 SARAH YANKEE SMITH, JAMES W.                         )
 HOLMES, HOLMES & STICE, PLC, EMIL                    )
 HAMIL TON MESSIMER, and MESSIMER                     )
 FINANCIAL SERVICES, INC.,                            )
                                                      )
                                                      )
 DEFENDANTS.                                          )



                                    COMPLAINT

               Plaintiffs, for their Complaint against the Defendants, allege

 as follows:

                                  INTRODUCTION

               1. Since 1999, Defendant Sarah Yankee Smith ("Yankee Smith"),

 the surviving Trustee for the Mary H. Richardson Grantor Trust ("Richardson

 Trust" or ''the Trust") and all of her co-Defendants, acting in concert through their

 association-in-fact enterprise targeting the rights and ownership interests


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 in the principal of that Trust of Plaintiffs and remainder beneficiaries, conspired to

 defraud and committed overt acts of fraud, including acts and conduct indictable as

 federal mail fraud and federal wire transfer fraud, denied and deprived Plaintiffs

 and remainder beneficiaries of their rights and ownership interests in that principal,

 and otherwise tortiously injured Plaintiffs and remainder beneficiaries by means of

 a plan and scheme to defraud conceived by Defendant Yankee Smith and executed

 by all Defendants.

              2. Defendant Yankee Smith's co-conspirators and co-Defendants are

 attorney James R. Holmes ("Holmes") and his law firm, Holmes & Stice, and Emil

 H. Messimer and his former investment firm, Messimer Financial Services, Inc.,

 financial and investment advisors for that Trust during Yankee Smith's trusteeship.

              3. Defendants Yankee Smith and co-Defendants Holmes and Holmes

 & Stice have acted and continue to act in concert through the same association-in-

 fact enterprise, targeting the same Plaintiffs' and remainder beneficiaries' rights

 and ownership interests in the principal of a separate trust known as the Joint Trust,

 have conspired to defraud and committed overt acts of deception indictable as

 federal mail fraud, have obstructed and prevented Plaintiffs' and remainder

 beneficiaries' protection of their rights and interests by unlawful concealment of all

 activities of Joint Trust administration and of all financial information about the

 Joint Trust Estate, and have otherwise tortiously injured Plaintiffs and remainder


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 beneficiaries by means of a plan and scheme to defraud Plaintiffs and remainder

 beneficiaries that was conceived Defendant Yankee Smith and executed by

 Defendants Holmes and Holmes & Stice.

              4. The ultimate aim of Defendants' scheme and enterprise has been to

 gain control and ownership of Plaintiffs' and remainder beneficiaries' funds in the

 principal of the Richardson Trust and the Joint Trust by concealing and falsifying

 material financial information about the amounts of said principals and Defendant

 Yankee Smith's administration of those Trusts, thereby enabling Yankee Smith,

 acting in concert with all of her co-Defendants, to illegally withdraw Plaintiffs'

 and remainder beneficiaries' funds from the Richardson Trust principal without

 their knowledge.

              5. Defendants' conspiracy and scheme to defraud has been and

 continues to be carried out through the same association-in-fact enterprise with

 which each Defendant has been associated and which has engaged in interstate

 commerce, and in which each Defendant conducted or participated directly or

 indirectly, in the conduct of that enterprise's affairs through a pattern of

 racketeering activity.

              6. Defendant Yankee Smith and her co-conspirators and co-

 Defendants took actions by which they actively assisted and enabled her to

 illegally withdraw and appropriate funds from the Richardson Trust principal


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 owned by Plaintiffs and remainder beneficiaries in an amount totaling

 approximately $304,276.51, which constitutes Class A felony theft under Tenn.

 Code Ann.§§ 39-14-103(a) and 105(a)(6).

              7. Defendant Yankee Smith has openly admitted, in several emails

 enclosing spreadsheets prepared by Holmes that all Defendants transmitted or

 caused to be transmitted to Plaintiffs and remainder beneficiaries, that while acting

 as a Co-Trustee, she illegally withdrew $70,000 from the Richardson Trust

 principal in 2005 and 2006, and has further admitted that while acting as the

 sole surviving Trustee of the Richardson Trust in November 2011, she withdrew

 an additional $24,000 from the one-third equal share of the principal of the

 Richardson Trust principal owned by Plaintiff and remainder beneficiary

 Huntington Smith. Yankee Smith's and Defendants' withdrawals totaling $94,000

 (which are included in the $304,276.51 total identified above) were not permitted

 or authorized by any terms of the Richardson Trust or by state common law or any

 state statute, and constituted the tort of conversion or appropriation of Plaintiff

 Huntington Smith's personal property.

              8. Defendants' conduct violates the Racketeer Influenced and Corrupt

 Organizations Act, 28 U.S.C. § 1961 et seq., with predicate acts of theft and mail

 and wire fraud.




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              9. At all relevant times, each named Defendant was acting in concert

 with, or as an agent for, one or more of the RICO Defendants, and, further, as

 described in more detail below, conspired with the RICO Defendants to perform

 the acts averred herein.

              10. Plaintiffs are persons injured in their business or property by

 reason ofDefendants' violations of28 U.S.C. § 1962(c), and may sue therefor, and

 shall recover threefold their damages sustained and the costs of this suit, including

 a reasonable attorney's fee, under 28 U.S.C. § 1964(c).

              11. This complaint also seeks declarative and injunctive relief and

 recovery of costs and restitution or disgorgement for Defendants' unjust

 enrichment, for their acts of civil conspiracy, and for their commission of the state

 common law tort of conversion of Plaintiffs' and remainder beneficiaries' personal

 property in Richardson Trust principal and state statutory and common law tort of

 fraud - by intentional misrepresentation of material facts, and by intentional

 omission and concealment of material facts - all of which occurred during

 Defendant Yankee Smith's administration of the Richardson Trust as Co-Trustee

 or as sole surviving Trustee.

              12. This complaint also seeks declarative and injunctive relief and

 recovery of costs and damages for Defendants' breaches of trust and fiduciary duty

 concerning the Trusts, in violation of state statutory and common law.


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               13. The continuing concealment of all factual and financial

  information about the Joint Trust principal and all information about

 administration of the Joint Trust by Defendants Yankee Smith, Holmes and

 Holmes & Stice is conduct that constitutes breach of several applicable state

 statutory and common law duties, and such concealment will continue unless these

  breaches are enjoined by order of this Court.

               SUBJECT MATTER JURISDICTION AND VENUE

               14. This Court has subject matter jurisdiction over Plaintiffs claims

 under 28 U.S.C. § § 1331 and 2202 (Declaratory Judgment Act), and under

  18 U.S.C.§ 1964(c). Plaintiffs' first claim for relief arises under 18 U.S.C.

  § 1961, et seq., as hereinafter more fully appears.

               15. Plaintiffs' state statutory and common law claims arise out of

 the same case or controversy as their federal law claims, because all claims in this

 action arise out of a common nucleus of operative facts. Therefore, this Court also

 has supplemental jurisdiction over Plaintiffs' state law claims under 28 U.S.C.

 § 1367.

               16. Venue is proper in this District under 28 U.S.C. § 1391(b)(2),

 because the events giving rise to this action occurred in this District, and under

  18 U.S.C. § 1965.




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               17. This Court has personal jurisdiction over because each Defendant

 resides and transacts each such Defendant's affairs in this District.

                                        PARTIES

               18. Plaintiff Lyle Huntington Richardson Smith ("Huntington

  Smith") is a resident of Kingsport, Tennessee.

               19. Plaintiff Carolyn Stevens Richardson Smith Puckett ("Carolyn

  Puckett") is a resident of Springfield, Virginia.

               20. Defendant Sarah Yankee Smith ("Yankee Smith") is a resident

 of Kingsport, Tennessee.

               21. Defendant James W. Holmes ("Holmes") is an attorney licensed

 to practice law in the State of Tennessee (BOPR # 016149).

               22. Defendant Holmes and Stice, PLC, is a law firm located in

 Kingsport, Tennessee. It is organized under the laws of the State of Tennessee.

               23. Defendant Emil Hamilton Messimer ("Messimer") is a resident

 of Johnson City, Tennessee.

               24. Defendant Messimer Financial Services, Inc. ("MFS") is a

 corporation organized under the laws of the State of Tennessee. Its principal place

 of business is Johnson City, Tennessee.




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                            FACTUAL BACKGROUND

               Richardson Trust Agreement

               25. On May 16, 1963, Mary H. Richardson ofDanville, Virginia, the

 aunt of Dr. Lyle Richardson Smith ("Dr. Smith") of Kingsport, Tennessee, created

 and funded as grantor the type of trust known as a principal and income trust. That

 Trust Agreement is known as the Mary H. Richardson Grantor Trust ("Richardson

 Trust").

               26. Dr. Smith was the income beneficiary of the Richardson Trust

 during his lifetime. His only children, Plaintiffs Carolyn S.R.S. Puckett ("Carolyn

 Puckett") and Lyle Huntington Richardson Smith ("Huntington Smith"), and

 Robert Kimball Richardson Smith II ("Kimball Smith"), or their surviving

 descendants per stirpes, were the remainder beneficiaries of the Richardson Trust

 principal. After Kimball Smith's death, his daughter, Anna Gabriela Richardson

  Smith, took her father's place as the third equal remainder beneficiary of the

 Richardson Trust.

              27. With the exception of distributions of$10,000 already made to

 each of the three remainder beneficiaries of the Richardson Trust upon reaching

 the age of 25 years, the Trust estate or principal could only be used for education

 or other contingent expenses for Dr. Smith's children. Other than those three




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 distributions totaling $30,000, no funds were ever distributed to Dr. Smith's

 children or grandchildren from the Trust principal.

              28. The original Richardson Trust Agreement included a schedule

 made a part thereof identifying the amount of funds and personal property placed

 in the Trust principal by the grantor, Mary H. Richardson. That Agreement

 provides in relevant part that "[t]he Grantor has transferred and delivered to the

 Trustee all of the property described in the attached schedule, which together with

 all other property transferred and delivered by the Grantor to the Trustee shall

 constitute the Trust estate, and shall be held, administered and distributed as

 provided in this agreement."

              29. On May 20, 1999, Defendant James Holmes, on behalf of his

 clients, Dr. Smith and Yankee Smith, mailed an incomplete version of the

 Richardson Trust Agreement to each of the remainder beneficiaries. Holmes

 did not include in any of those copies the referenced schedule identifying the

 property transferred and delivered by the grantor to the original Trustee.

              30. No Richardson Trust Trustee, including Defendant Yankee

 Smith, has ever provided any of the Plaintiffs or remainder beneficiaries with a

 copy of the schedule of assets and property that is identified in ARTICLE ONE

 of the original Richardson Trust Agreement.




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                31. The Plaintiffs and remainder beneficiaries have never seen a

   copy of the schedule of assets and property identified and incorporated into the

  Richardson Trust Agreement, and they have never learned or been informed of

  the original amount of the principal in that Trust.

                32. The Richardson Trust Agreement contains a non-discretionary

   directive to the Trustee to execute upon the death of Dr. Smith. The Agreement

  requires that upon his death, "the Trustee shall divide the trust estate" into three

   equal funds, one for each of the remainder beneficiaries, that "each such fund shall

  be held and administered as a separate trust," and that the Trustee "shall distribute"

  the equal fund in each separate trust to each of the remainder beneficiaries.

               Richardson Trust Trustees

               33. The original Trustee, named in the Richardson Trust Agreement,

  was the First National Bank of Danville, Virginia. Through a series of mergers

  and acquisitions and successor Trustees beginning in 1979, NationsBank, N.A.,

  became the successor Trustee in 1991. On July 5, 1999, NationsBank, N.A.,

  changed its name to Bank of America, N.A. On July 23, 1999, Bank of America,

  N.A., merged into a new financial institution with the bank title of Bank of

  America, N.A.

               34. On May 20, 1999, Defendant James Holmes (before joining

  Holmes & Stice) filed a Petition for Appointment of Co-Trustees and Acceptance


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   of Resignation ofNationsBank as Original Trustee. In re Mary H. Richardson

   Grantor Trust and NationsBank, no. 29755 (M), Chancery Ct, Sullivan County,

  Tennessee. The proposed Co-Trustees were Dr. Smith and Defendant Yankee

   Smith.

                 35. Defendant Holmes' Petition acknowledges that Dr. Smith was

  "only entitled to receive the net income of the Trust" and that "[n]o Trust principal

   distributions are permitted by the Trust's distribution directives to or for the

   benefit" ofDr. Smith.

                 36. Defendant Holmes' Petition includes three exhibits. Exh. A is an

   incomplete version of the original Richardson Trust Agreement. Holmes omitted

  the schedule of property transferred and delivered to the original Trustee by the

  Grantor, Mary H. Richardson, and made part of the original Trust Agreement in its

  Article One.

                 37. Defendant Holmes also failed to inform the court that he had filed

  the Richardson Trust Agreement omitting a material part of that Agreement. That

  failure was a breach of the rule of professional responsibility imposing upon an

  attorney a duty of candor before the court.

              3 8. On information and belief, when Defendants Holmes and Yankee

 Smith filed their Petition and served it on each Plaintiff and remainder beneficiary,

 they deliberately omitted from their filed version of the Richardson Trust Agreement


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 the schedule of assets and property originally placed in the principal of that Trust for

 a single purpose: to conceal from Plaintiffs and remainder beneficiaries the original

 amount of funds in the principal of that Trust.

                Conversion of Reimbursed Administration Fees

                39. On or about September 2, 1999, Defendant Holmes began legally

  representing Dr. Smith and Defendant Yankee Smith and sent a letter of that date

  to then Trustee NationsBank seeking reimbursement of excess administration fees

  that it had assessed against both the principal and income of the Richardson Trust.

                40. Defendant Holmes' Petition for Appointment of Co-Trustees

  states in relevant part that:

                       LYLE R. SMITH has identified to NATIONS BANK an
                overcharge of Trustee fees in excess ofNineteen Thousand Dollars
                ($19,000) from May 31, 1992, through December 24, 1998. Said
                amount is being refunded to LYLE R. SMITH as unpaid income and
                to the Trust as recovery of principal charges for Trust
                administration fees. [emphasis added]


                41. Exhibit C of the Petition is a letter from NationsBank dated

  October 22, 1998, in response to Holmes' letter dated September 2, 1998, in which

  NationsBank agreed to reimburse excessive Richardson Trust administration fees

  when it had finished calculating the correct amount, and further agreed to remit the

  entire reimbursement amount for both the Trust principal and income by check to

  the income beneficiary, Dr. Smith.


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               42. Defendant Holmes could not have identified excess

  administration fees exceeding $19,000 to NationsBank without knowing and

  basing his own calculations on specific and separate amounts of both Richardson

  Trust principal and income.

               43. On information and belief, Defendants Holmes and Yankee Smith

   intentionally excluded their September 2, 1999, letter to NationsBank from the

  exhibits to their Petition his in order to prevent the remainder beneficiaries from

  discovering through his letter the actual amount of funds in the Richardson Trust

  principal.

               44. Plaintiffs and remainder beneficiaries have never seen a copy of

  Defendant Holmes' letter dated September 2, 1998.

               45. On unknown dates preceding the Chancery Court's issuance of its

  Order dated August 19, 1999, granting the Petition for Appointment of Co-

  Trustees, Bank of America had calculated the amount of reimbursement for excess

  administration fees charged against both Richardson Trust principal and income,

  Holmes had agreed on that amount, and Bank of America had issued a check for

  the full amount of reimbursement to Dr. Smith.

               46. In its Order dated August 19, 1999, the court stated that it had

  reviewed "written evidence that Bank of America has [already] returned [excessive




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   administration fees taken from the Richardson Trust] in the amount of

   $19,853.25."

                4 7. Defendant Holmes knew that under the Richardson Trust

   Agreement, Dr. Smith was not entitled to receive any funds belonging to the Trust

   principal. He recognized in his own Petition that the excess fees were being

   refunded to Dr. Smith "as unpaid income and to the Trust as recovery of principal

   charges for Trust administration fees."

                48. On information and belief, Bank of America's agreement to

   reimburse excess administration fees that it had assessed against both Richardson

   Trust principal and income by remitting the entire reimbursement amount by check

   to Dr. Smith was a settlement term requested by Defendant Holmes during

  negotiations. Otherwise, Bank of America would have followed the customary and

   appropriate procedure for a trustee to reimburse a trust account, namely, by simply

  depositing the amount of reimbursement directly into its own Richardson Trust

   account that it held and managed as Trustee.

               49. On information and belief, Defendant Holmes, at the request and

  on behalf of the proposed Co-Trustees and Defendant Yankee Smith, arranged for

  Bank of America to remit the entire excess fee reimbursement by check to Dr.

  Smith in order to enable the Co-Trustees to cash that check and appropriate and




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   convert to their ownership the remainder beneficiaries' share of that

  reimbursement.

                50. Defendant Holmes breached his fiduciary and professional duty

  to protect the rights and ownership interests of the remainder beneficiaries in the

   reimbursement of excess fees charged to the Trust principal by arranging to have

   Bank of America remit the remainder beneficiaries' portion of reimbursement to

   Dr. Smith by check.

                51. NationsBank's letter of October 22, 1998, to Defendant Holmes

   also contained its offer of resignation as Trustee to the Richardson Trust.

                52. By its Order dated August 19, 1999, the Chancery Court accepted

   and approved Bank of America's resignation as Trustee of the Richardson Trust

  and appointed Dr. Smith and Yankee Smith as Co-Trustees. That Order directed

  that the "Bank of America shall transfer its title and interest as Trustee in all Trust

  property to LYLE R. SMITH and SARAH Y. SMITH in their capacity as Co-

  Trustees within thirty (30) days of the date of this Order."

                53. That Order also specifically instructed the new Co-Trustees that

  they were "thereby assuming all responsibilities imposed by the Trust document."

                54. Following Dr. Smith's death on September 3, 2011, through a

  series of postal mailings and electronic emails to the remainder beneficiaries, who

  then resided in three different states, each of the Defendants communicated their


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   individual and collective assertions that on September 6, 2005, the entire amount

   of principal in the Richardson Trust investment account opened on that date and

  managed by Defendants Messimer and MFS was $164,096.74.

                55. Plaintiffs never received any information or documents

   concerning the Co-Trustees' administration of the Richardson Trust during the

  time period from August 19, 1999, when they were so appointed, through

   September 5, 2005.

                56. When Yankee Smith and her co-Defendants in October 2011

   finally told Plaintiffs and remainder beneficiaries the purported amount in the

  Richardson Trust principal on September 6, 2005, Defendants gave them a

  materially false figure that understated the true amount of Trust principal by over

   $200,000.

               57. Defendants' false and fraudulent omissions and

  misrepresentations of material facts communicated to Plaintiffs and remainder

  beneficiaries about the Richardson Trust principal are the heart of Defendants'

  scheme to defraud Plaintiffs and remainder beneficiaries concerning that Trust

  through each Defendant's participation in their association-in-fact enterprise.

               Bank of America's 1999 Wire Transfer of $354,500

               58. Nearly two years after Dr. Smith's death in 2011, Bank of

  America provided Plaintiffs with copies of its financial records covering parts of


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   1998 and 1999, for its and its predecessor-in-interest NationsBank's administration

  of the Mary H. Richardson Grantor Trust, in Bank of America Account Number

  40-11-111-6380588.

               59. The full name of the Bank of America, N.A., Mary H. Richardson

  Grantor Trust Account is:

                     ACCOUNT 40-11-111-6380588
                     BANK OF AMERICA, N.A.
                     TRUSTEE FOR LYLE R. SMITH
                     UNDER AGREEMENT WITH MARY H.
                     RICHARDSON DATED 5-16-63

               60. Bank of America's financial records provided to Plaintiffs

  include the final statement for its Mary H. Richardson Grantor Trust Account

  No. 40-11-111-6380588. The formal title of that final statement is:

                     ACCOUNTING AND INVESTMENT REVIEW
                     JUN 011999 THROUGH NOV 30 1999

               61. Th final statement for the Mary H. Richardson Trust Account No.

  40111116380588 shows (on p. 6) that on September 29, 1999, Bank of America

  transmitted $354,500.00 from "PRINCIPAL CASH" of its Richardson Trust

  account by wire transfer to:

                     DR. LYLE R. SMITH
                     PARTIAL DISTRIBUTION
                     CHASE MANHATTAN BANK FFC NATIONAL
                     FINANCIAL SERVICES CORP FBO DR. LYLE R.
                     SMITH SECURITIES SERVICE NETWORK
                     DR. LYLE R. SMITH


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               62. Bank of America's final statement for its Richardson Trust

  account also shows that the Co-Trustees never deposited any funds into the Trust

  principal in that account at any time between August 19, 1999, when the Co-

  Trustees were so appointed, and September 29, 1999. Therefore, during that time

  period, the Co-Trustees never repaid to the Richardson Trust principal the portion

  ofBank of America's $19,853.25 reimbursement owned by.Plaintiffs and

  remainder beneficiaries.

               63. By keeping Plaintiffs' and remainder beneficiaries' share of Bank

  of America's reimbursement for themselves, the Co-Trustees thereby appropriated

  and converted the personal property of others.

               Messimer-MFS Richardson Trust Account at SSN

               64. The Financial Industry Regulatory Authority ("FINRA), which

  regulates securities firms and brokers throughout the country, registers securities

  brokers and independent financial adviser representatives to ensure that they are

  tested, qualified and licensed. At all relevant times, Defendant Emil Messimer was

  registered as an Independent Adviser Representative ("IAR") ofFINRA regulated

  and registered securities brokerage firms with FINRA Central Registration

  Depository under CRD no. 332664. At all relevant times, Messimer owned and

  operated Defendant Messimer Financial Services, Inc. ("MFS"), a securities and

  brokerage firm (CRD no. 142360).


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               65. FINRA's registration page for Defendant Messimer shows his

  history of registration as an IAR with different securities brokerage firms. From

  March 1997 through December 2002, and again from February 2004 though

  December 2011, Messimer was registered as an IAR with Securities Services

  Network, Inc. ("SSN") ofKnoxville, Tennessee (CRD# 13318).

               66. As an IAR for SSN, Defendant Messimer executed securities

  trading transactions for his advisory clients through brokerage accounts established

  by MFS at SSN. On or before September 29, 1999, Messimer established an MFS

  custodial brokerage account with SSN for investment of the Richardson Trust

  principal.

               67. At relevant times, Defendants Messimer and MFS were the

  financial advisers to the Co-Trustees for investment of the Richardson Trust

  principal, and actively managed the Richardson Trust securities portfolio and

  investment accounts at SSN and at other securities and brokerage firms.

               68. Bank of America's September 29, 1999, wire transfer of

  $354,500.00 was transmitted through Chase Manhattan Bank as a clearinghouse to

  "Financial Services Corp. FBO Dr. Lyle R. Smith Securities Service Network."

  The "Financial Services Corp." brokerage account that received that Bank of

  America wire transfer was a custodial account that Messimer and Messimer

  Financial Services, Inc., had established at SSN for the Richardson Trust.


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                 69. The individual who is the current owner of MFS stated to

   Plaintiffs' counsel during a recent meeting that the "Financial Services Corp."

   referenced in Bank of America's final statement as the recipient for its September

   29, 1999, wire transfer of $354,500 was in fact Defendant Messimer Financial

   Services, Inc. The MFS owner also stated to Plaintiffs' counsel during that

   meeting that at the time of that wire transfer by Bank of America, Securities

   Services Network, Inc. (SSN), in Knoxville, Tennessee, was the only FINRA

   regulated securities brokerage firm that Messimer and MFS were registered with,

   and it was the only investment firm at which they established custodial accounts

   for their investor clients.

                 70. At the time of Bank of America's September 29, 1999, transfer of

   the Richardson Trust principal to Financial Services Corp. FBO Dr. Lyle R. Smith

   Securities Service Network, Defendants Messimer and MFS had actual knowledge

   and knowledge pursuant to Tenn. Code Annot. § 35-15-104(a) of both the

   occurrence of that transfer and its amount.

                 Defendant James Holmes

                 71. On information and belief, Defendant Holmes was the

   intermediary or facilitator for communications between Bank of America and

   Messimer and MFS for the September 29, 1999, transfer of the Richardson Trust

   corpus or estate, and made the arrangements for that wire transfer. On information


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    and belief, Holmes gave instructions to Bank of America to transmit its wire

    transfer to the investment account at SSN that Messimer and MFS had opened on

    behalf of the Co-Trustees for investment of the Richardson Trust estate.

                 72. Defendant Holmes was the sole negotiator on behalf of Dr. Smith

    in settlement negotiations with NationsBank!Bank of America regarding the issue

    of excess administration fees. On information and belief, Defendants Messimer

    and MFS had no personal communications with Bank of America concerning the

    latter's wire transfer of$354,500.00 from the Richardson Trust estate to the

    Messimer-MFS investment account at SSN.

                 73. At the time of Bank of America's September 29, 1999, transfer of

    the Richardson Trust principal to Financial Services Corp. FBO Dr. Lyle R. Smith

    Securities Service Network, Defendant Holmes had actual knowledge and

    knowledge pursuant to Tenn. Code Annot. § 35-15-104(a), ofboth the occurrence

    of that transfer and its amount.

                 74. No Defendant ever informed Plaintiffs or remainder beneficiaries

    of the occurrence or of the amount ofBank of America's September 29, 1999,

    transfer of$354,500.00 to the Co-Trustees' investment account with Messimer and

    MFS at SSN.

                 75. From Sept. 29, 1999, until November 2011, Defendants and

    financial advisers Messimer and MFS held and managed the investment of the


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    Richardson Trust principal on behalf of the Co-Trustees in a securities portfolio

    held first in their account at SSN, and later held in their account at TD America, as

    described below herein.

                         Richardson Trust Transactions 2005-11

                 76. Dr. Smith had two living children at the time of his death on

    September 3, 2011. They are Plaintiffs in this civil action, Huntington Smith and

    Carolyn Puckett. His third child, Kimball Smith, was then deceased, and pursuant

    to the terms of the Richardson Trust, his daughter Anna Gabriela Richardson

    Smith, took his place as the third equal remainder beneficiary of that Trust.

                 77. Defendants Messimer and MFS created a document titled Report

    Package 3 for the Mary Richardson Trust investment portfolio held in a Messimer-

    MFS investment account number 952024879.

                 78. Messimer-MFS Report Package 3 contains a one-page portfolio

    snapshot for the period from January 1, 2011, through September 9, 2011, and

    shows individual trading and other transactions for only one day: September 9,

    2011.

                 79. Messimer-MFS prepared Report Package 3 for Defendants

    Holmes, Holmes & Stice and Yankee Smith with intention and agreement of those

    Defendants that a copy of Report Package 3 would be mailed to each beneficiary,

   then residing in three different states.


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                 80. Messimer-MFS Report Package 3 shows $164,096.74 as the

    amount with which Messimer and MFS opened their Richardson Trust account

    number 952024879 on September 6, 2005.

                 81. By letter dated October 5, 2011, Defendants Holmes and Holmes

    & Stice, on behalf of the surviving Richardson Trust Co-Trustee, Defendant

    Yankee Smith, mailed to each Plaintiff and remainder beneficiary a copy of

    Messimer-MFS Report Package 3.

                 82. The first time that the Plaintiffs and remainder beneficiaries were

    ever informed by any Defendant how much money was purportedly in the

    Richardson Trust principal was when they received a letter dated October 5, 2011,

    from Defendants Holmes and Holmes & Stice enclosing Messimer-MFS Report

    Package 3.

                 83. When Defendants Holmes and Holmes & Stice mailed Messimer-

    MFS Report Package 3 on behalf of Yankee Smith to Plaintiffs and remainder

    beneficiaries on October 5, 2011, each Defendant had actual knowledge and

    knowledge pursuant to Tenn. Code Annot. § 35-15-104(a) that Bank of America

    had wire transferred $354,500 to a Richardson Trust investment account opened by

    Messimer and MFS at SSN, for the benefit of the owners of that account, the Co-

    Trustees.




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               84. Report Package 3 is the only document prepared by Defendants

 Messimer and MFS that has ever been provided to Plaintiffs and remainder

 beneficiaries by Defendants Holmes, Holmes & Stice or Yankee Smith.

               85. The discrepancy between $354,500.00, the amount of Richardson

 Trust principal that Bank of America wire transferred on September 29, 1999, to

 the newly appointed Co-Trustees, Dr. Smith and Defendant Yankee Smith, and

  $164,096.74, the figure that all Defendants claimed and represented to Plaintiffs

 and remainder beneficiaries to have been the full amount of funds in the

 Richardson Trust account opened by Messimer and MFS on September 5, 2005,

 totals $190,403.26.

              Emails and Spreadsheets of Holmes and Holmes & Stice

              86. From November 4, 2011, through November 14, 2011,

 Defendants Holmes and Holmes & Stice, acting at the request and on behalf of the

 surviving Co-Trustee, Defendant Yankee Smith, transmitted a series of email

 communications to PlaintiffHuntington Smith in Kingsport, Tennessee, Plaintiff

 Carolyn Puckett in Springfield, Virginia, and remainder beneficiary Anna Gabriela

 Richardson Smith, the sole surviving descendant of original remainder beneficiary

 Kimball Smith, in San Luis Obispo, California. Those Defendants also transmitted

 a wire transfer of Richardson Trust principal funds to Anna Gabriela Richardson

 Smith and Carolyn Puckett at those same locations.


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                November 3, 2011, Spreadsheet

                87. On November 3, 2011, PlaintiffHuntington Smith picked up at

  the office of Defendants Holmes and Holmes & Stice, a spreadsheet that Holmes

  himself had prepared. That spreadsheet shows $61,915.98 as the amount of the

  Richardson Trust principal that Defendants Yankee Smith, Holmes and Holmes &

  Stice intended to distribute to each of the three remainder beneficiaries.

                88. Defendant Holmes' spreadsheet ofNovember 3, 2011, also shows

  two separate "withdrawals" or removals of funds by the Co-Trustees from the

  Richardson Trust principal: $50,000 on 08/09/06 (shown on line 6), and another

  $20,000 on 06/14/07 (line 11 ). The Co-Trustees could only make withdrawals

  from the Trust principal by asking Defendants Messimer and MFS to execute a

  securities transaction to convert or liquidate stocks in the amount of the requested

  withdrawal to cash to be distributed to the Co-Trustees. Messimer and MFS

  executed the Co-Trustees' requests for such withdrawals of$50,000 and $20,000

  from the Richardson Trust principal in the Messimer-MFS account held at TD

  Ameritrade.

                89. Plaintiff Huntington Smith forwarded Defendant Holmes'

  November 3, 2011, spreadsheet by email to the other two remainder beneficiaries,

  who then resided in Virginia and California.




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                  90. Until they received and read Defendant Holmes' November 3,

    20 11, spreadsheet, Plaintiffs and remainder beneficiaries had no knowledge of the

    Co-Trustees' two withdrawals of Richardson Trust principal in 2005 and 2006

    totaling $70,000. They had never been informed in any manner or form by the Co-

    Trustees about, and had never seen any documents showing, the occurrence or

    existence of the Co-Trustees' withdrawals and conversions of $50,000 on August

    9, 2006, and $20,000 on June 14, 2007.

                  Nov. 4, 2011 (11:44 a.m.) Email and Spreadsheet

                  91. On November 4, 2011 (11 :44 a.m.), Defendants Holmes and

    Holmes & Stice sent an email and enclosed spreadsheet prepared by Holmes to

    Plaintiffs' counsel attesting to the accuracy of the amounts shown in that email and

    enclosed spreadsheet of certain holdings and transactions on specific dates in the

    Richardson Trust account that Messimer and MFS established and managed at TD

    Ameritrade.

                  92. The November 4, 2011 (11 :44 a.m.) email from Defendants

    Holmes and Holmes & Stice stated in relevant part that:

                  I attached a spreadsheet listing the Ameritrade activity of the
                  Richardson Trust since 2005. I do not currently have year-end
                  statements for the Trust. The assumption [sic] that I have used are as
                  follows:
                  1. The Ameritrade account was originally opened with $164,096.74
                         on September 5, 2005;
                  2. Ameritrade has provided me a listing of all distributions taken after
                         9/5/05, such is listed on the spreadsheet;

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              [Paragraphs 3, 4 and 5 are omitted]
              The last distribution was made in 2007.

              93. The actual amount of funds comprising the Richardson Trust

 principal on September 29, 1999, was approximately $374,353.25, consisting of

 Bank of America's $354,500 wire transfer to the Co-Trustees on that date, plus its

 earlier reimbursement of$19,853.25 sent to Dr. Smith.

              94. The total discrepancy between $164,096.74, the amount that all

 Defendants falsely claimed constituted the whole of the Richardson Trust principal

 on September 6, 2005, and $374,373.25, the actual amount ofRichardson Trust

 principal on September 29, 1999, totals $210,276.51.

              95. Plaintiffs allege that through their letters, emails, spreadsheets,

 financial reports and wire transfers of funds concerning the amount of principal in

 the Messimer-MFS Richardson Trust account at TD America, that Defendants

 mailed or electronically transmitted, or caused to be mailed or electronically

 transmitted, in interstate commerce, each Defendant knowingly and intentionally

 concealed from Plaintiffs and remainder beneficiaries the occurrence and the

 amount of Bank of America's 1999 wire transfer of$354,500.00 to the Co-

 Trustees and remission of$19,853.25 to Dr. Smith.

              96. Each Defendant's concealment ofBank of America's 1999 wire

 transfer of$354,500.00 to the Co-Trustees, of which transfer each Defendant had



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    personal knowledge at the time of the transfer, constitutes the commission of the

    common law intentional tort of fraud by omission.

                 97. By their concealment of the appropriation and conversion of

    Plaintiffs' and remainder beneficiaries' ownership interest in the $19,853.25

    reimbursed to the Richardson Trust principal and incomes, in separate amounts of

    which they have personal knowledge, Defendants Holmes and Yankee Smith

    committed the intentional common law tort of fraud by omission.

                Co-Trustees' Illegal Withdrawals or Thefts of $70,000

                98. The spreadsheets prepared by Defendant Holmes and enclosed

    with each of Holmes' and Holmes & Stice's three emails on behalf of Yankee

    Smith to Plaintiffs and remainder beneficiaries dated November 4 ( 11 :44 a.m. and

    3:38p.m.) and 8, 2011, show the same two Co-Trustees' withdrawals from

    Richardson Trust principal held in the Messimer and MFS Richardson Trust

    brokerage account at TD Ameritrade that are shown on the Holmes' November 3,

    2011, spreadsheet, namely, $50,000 on August 9, 2006, and $20,000 on June 14,

    2007.

                99. When the Co-Trustees made the illegal withdrawals of$50,000

    and $20,000 from the Richardson Trust principal, Defendant Yankee Smith was a

    Co-Trustee, and Defendants Messimer and MFS held that Trust principal in an

    investment brokerage account at TD America.


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              100. The terms of the Richardson Trust Agreement did not confer

 upon Defendant and Co-Trustee Yankee Smith any permission, authority or right

 to withdraw any funds from the Richardson Trust principal.

              101. From September 5, 2005, through on or about November 10,

 2011, Defendants Messimer and MFS had custody of and managed the corpus or

 principal of the Richardson Trust in a TD Ameritrade brokerage account. In his

 capacity as financial adviser and manager of the Richardson Trust principal.

             102. Defendants Messimer and MFS allocated and distributed

 investment income from Richardson Trust principal to Dr. Smith as the income

 beneficiary. Richardson Trust financial statements during the period from Sept. 5,

 2005, through November 2011 show regular allocations of income to Dr. Smith.

 Those statements contain detailed transactional activity and separate accounting

 for both principal and income.

             103. Defendants Messimer and MFS had actual and personal

 knowledge, and knowledge under Tenn. Code Annot. § 35-15-104(a), that the

 principal of the Richardson Trust was owned by Plaintiffs and remainder

 beneficiaries, and that Dr. Smith, as income beneficiary and as Co-Trustee, and

 Defendant Yankee Smith as Co-Trustee, had no authority or right to withdraw any

 funds from the Richardson Trust principal.




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              104. Defendants Messimer and MFS could not have opened that

 Richardson Trust account at TD America without possessing a copy of the Trust

 Agreement. They could not have executed the Investment Advisor portion of the

 TD America Custodial Account Establishment Documents without having a copy

 of the Trust Agreement and knowing all the terms of that Agreement. On August

 11,2005, the Co-Trustees executed a form document entitled "Trust Certification

 for Custodial Accounts" in connection with the opening by Messimer and MFS of

 a investment account for the Richardson Trust.

              106. Defendants Messimer and MFS had no authority or right under

 the Richardson Trust Agreement or under state statutory or common law to execute

 the securities transactions that enabled the Co-Trustees to make the illegal

 withdrawals of $50,000 and $20,000 from the Richardson Trust principal.

              107. Defendants had actual and personal knowledge, and knowledge

 under Tenn. Code Annot. § 35-15-104(a), when they communicated with Plaintiffs

 and remainder beneficiaries by letter dated October 5, 2011, with enclosed Report

 Package 3, and by emails and spreadsheets dated November 3, 4 (11:44 a.m. and

 3:38p.m.) and 8, 2011, that the Co-Trustees' withdrawals of$50,000 in 2005 and

 $20,000 in 2006 were not permitted or authorized by the Richardson Trust

 Agreement or by any state statute or common law.




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                 108. Defendants also had knowledge that those two Co-Trustee

    withdrawals constituted thefts of Richardson Trust principal owned by Plaintiffs

    and remainder beneficiaries. Both withdrawals by the Co-Trustees constituted

    felony theft under Tenn. Code Ann.§ 39-14-103(a) and 105(a)(6). Defendants

    Holmes, and Holmes & Stice knew that those two withdrawals constituted felony

    theft under the Tennessee Criminal Code.

                 Withdrawal of $24,000 from H. Smith's Distribution Share

                 109. The spreadsheet prepared by Defendant Holmes that Plaintiff

    Huntington Smith picked up at the offices of Holmes & Stice on November 3,

    2011, shows that the amount of Richardson Trust principal that Defendants

    Holmes, Holmes & Stice and Yankee Smith intended to distribute to Huntington

    Smith would be reduced by an additional $24,000.

                 110. That same reduction of"$24,000.00 paid to Sarah Smith loan

    repayment" from Huntington Smith's share of Richardson Trust principal is shown

    on spreadsheets enclosed with emails sent to Plaintiffs and remainder beneficiaries

    by Defendants Holmes and Holmes & Stice on November 4 (3:38p.m.) and 8,

    2011.

                 111. The loan in issue was completely unrelated to the Richardson

    Trust. It was a private debt wholly outside and without any possible legal effect

    upon the terms of administration of the Richardson Trust Agreement.


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              112. The terms of the Richardson Trust Agreement did not confer

 upon Yankee Smith any permission, authority or right to withdraw $24,000 from

 the Richardson Trust principal owned by Plaintiff Huntington Smith.

              113. Defendants Holmes and Holmes & Stice had actual and personal

 knowledge, and knowledge under Tenn. Code Annot. § 35-15-104(a), when they

 informed Plaintiffs and remainder beneficiaries by emails and spreadsheets dated

 November 3, 4 (3:38p.m.) and 8, 2011, that Defendant Yankee Smith's

 withdrawal of $24,000 from the Richardson Trust principal owned by Huntington

 Smith was not permitted or authorized by the Richardson Trust Agreement or by

 any state statute or common law.

             114. Defendants Holmes, Holmes & Stice and Yankee Smith had

 knowledge that the withdrawal of$24,000 constituted theft ofRichardson Trust

 principal owned by Plaintiff and remainder beneficiary Huntington Smith. That

 withdrawal, in which each of those three Defendants participated, constituted

 felony theft under Tenn. Code Ann.§§ 39-14-103(a) and 105(a). Defendants

 Holmes, and Holmes & Stice knew that those two withdrawals constituted felony

 theft under Tenn. Code Ann.§§ 39-14-103(a) and 105(a).

             115. When Defendants Holmes and Yankee Smith reduced the

 amount of Plaintiff and remainder beneficiary Huntington Smith's distribution




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   share from Richardson Trust principal by $24,000, which was appropriated by

   Defendant Yankee Smith, they had knowledge, pursuant to Tenn. Code Annot.

   § 35-15-104(a), that their reduction and Yankee Smith's withdrawal of$24,000

   from the Trust principal were not authorized or permitted by any terms of the

   Richardson Trust Agreement.

                116. The letter dated October 5, 2011, and emails and spreadsheets

   from Defendants Holmes and Holmes & Stice, to Plaintiffs and remainder

   beneficiaries dated November 3-4, 8-9 and 14, 2011, and Messimer-MFS Report

   Package 3, dated September 12, 2011, are the only documents concerning

   Defendant Yankee Smith's administration of the Richardson Trust as Co-Trustee

   or as sole surviving Trustee that she has ever provided- and even then only

   through counsel Holmes and Holmes & Stice - to Plaintiffs or remainder

   beneficiaries.

                Partial Distribution of Richardson Trust Principal

                117. The Richardson Trust Agreement contains specific and non-

   discretionary directives to the Trustee to execute after the death of Dr. Smith:

                                      ARTICLE TWO
                       3. Upon the death of the survivor of the death of the Grantor
                and the said Lyle Richardson Smith, the Trustee shall divide the trust
                estate into equal funds, one for each child of Lyle Richardson Smith
                then living and one for the then living descendants collectively [per
                stirpes] of each child of Lyle Richardson Smith then deceased. . . .
                Each such fund shall be held and administered as a separate trust
                and shall be held and disposed of as follows:

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                       (e). The Trustee shall distribute each fund set aside for the
                       descendants of a deceased child of Lyle Richardson Smith to
                       such descendants, per stirpes.

          Coerced Signatures of Defendant Yankee Smith's Receipt and Release

                 118. In an attempt to obtain immunity from legal action by the

    remainder beneficiaries against Defendant Yankee Smith for her illegal

    withdrawals totaling $94,000 from the Richardson Trust principal and other illegal

    wrongs committed against Plaintiffs and remainder beneficiaries during her

    administration as Trustee for that Trust, Defendants Holmes and Holmes & Stice

    coerced the remainder beneficiaries into signing a broad and extortionate receipt

    and release document that they had drafted.

                 119. By emails dated November 4 (3:38p.m.), 9 and 10, Defendants

    Holmes, Holmes & Stice and Yankee Smith warned Plaintiffs and remainder

    beneficiaries that they would withhold distribution of the Richardson Trust

    principal until they received from each remainder beneficiary a signed receipt of

    distributed principal funds and release of Trustee Yankee Smith from claims and

    liabilities "as surviving Co-Trustee ofthe [Richardson Trust]."

                  120. Defendant Holmes stated in his November 4, 2011 (3:38p.m.)

    email that he must receive those signed receipts and releases "prior to me

    instructing Co-Trustee Sarah Smith to make the final distributions."




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                 121. By email dated November 9, 2011, Defendants Holmes, Holmes

    & Stice and Yankee Smith restated that they were withholding distribution of the

    principal until they received signed receipts and releases and warned that if the

    remainder beneficiaries failed to do so, Holmes would "petition the court to

    approve the termination and distribution of the Richardson Trust."

                 122. By emails dated November 10 and 14, 2011, Defendants

    Holmes, Holmes & Stice and Yankee Smith sent notice that they had received the

    executed receipts and releases from each remainder beneficiary, stated that the

    Richardson Trust principal was being held at TD America, and gave Plaintiffs and

    remainder beneficiaries instructions about information that Holmes needed from

    them before they could receive distributions from the Trust principal.

                 123. On November 15,2011, Defendants Holmes, Holmes & Stice

    and Yankee Smith transmitted by wire transfer distributions of Richardson Trust

    principal to Plaintiffs and remainder beneficiaries. They transmitted $61,499.31 by

    wire transfers to Carolyn Puckett in Springfield, Virginia, and to Anna Gabriela

    Richardson Smith in San Luis Obispo, California. Plaintiff and remainder

    beneficiary Huntington Smith personally picked up a check for $3 7,499.31 of

    Richardson Trust principal.

                 124. The actions and conduct of Defendants Yankee Smith, Holmes

    and Holmes & Stice concerning their proposed distributions of Richardson Trust


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  principal and their coercion of receipts and releases from the remainder

  beneficiaries, including Holmes' individual and personal involvement when he

  stated that he would instruct Yankee Smith when she could make the proposed

  distributions, demonstrates the knowing and intentional participation of each of

  those Defendants in the association-in-fact enterprise and scheme to defraud

  Plaintiffs and remainder beneficiaries.

               125. When Plaintiffs and remainder beneficiaries executed the

  receipts and releases, they were not aware of the material fact that Bank of

  America had transferred the Richardson Trust estate totaling $354,500.00 to the

  Co-Trustees on September 29, 1999, or that the Co-Trustees had not returned to the

  Trust principal any of$19,853.25 in excess Trust administration fees reimbursed

  by Bank of America to the Co-Trustees.

               126. The consent or release or ratification of each Plaintiff and

  remainder beneficiary contained in the receipt and release that each signed and

  returned to Yankee Smith, Holmes and Holmes & Stice is invalid and

  unenforceable under Tenn. Code Annot. §§ 35-15-817(c) and 35-15-1009, because

  the execution of each of those receipts and releases was induced by the improper

  conduct of the Trustee, and because Plaintiffs and remainder beneficiaries at the

  time of the consent, release or ratification, did not know of their rights or of the

  material facts relating to the Trustee's commission of breach of trust.


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                 127. Defendant Yankee Smith has never disclosed to Plaintiffs and

   remainder beneficiaries any information about the amount of principal in the

   Richardson Trust, or about any transactions whatsoever concerning its

   administration during the period from May 16, 1963, when the Trust was created,

   through September 6, 2005, as to which date she provided only fraudulent

    information and did not provide even that false information until until October 5,

    2011.

                 128. Yankee Smith and her co-Defendants colluded and conspired

    about the Co-Trustees' withdrawals from the Trust principal, and about their

    concealment of those withdrawals from Plaintiffs and remainder beneficiaries.

                 129. Defendant Yankee Smith herselfhas concealed and withheld,

    and continues to conceal and withhold, and has personally directed and instructed,

   and continues to direct and instruct, her co-conspirators and co-Defendants not

   only to conceal and withhold financial information and records about the

   Richardson Trust but also not to speak to Plaintiffs about any matters concerning

   that Trust, specifically including Bank of America's September 29, 1999, wire

   transfer of the Richardson Trust estate or principal totaling $354,500 to the Co-

   Trustees.

                130. During a recent meeting, Plaintiffs' counsel showed the present

   individual owner ofMFS a copy of the Bank of America final statement for its


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 Richardson Trust account, which in tum shows that on September 29, 1999, Bank

 of America transmitted $354,000 by wire transfer to a Richardson Trust investment

 account that Messimer and MSF established with SSN on behalf of the Richardson

 Trust Co-Trustees, Dr. Smith and Defendant Yankee Smith.

              131. The owner ofMFS later stated to Plaintiffs' counsel during a

 telephone call, that he had spoken to Messimer and informed him about the Bank

 of America final statement for its Richardson Trust investment account that shows

 its wire transfer of$354,500 on September 29, 1999, to a Messsimer/MFS

 investment account established at SSN on behalf of the Co-Trustees.

              132. During a subsequent telephone call, the owner ofMFS stated to

 Plaintiffs' counsel that he had been told by Messimer that Messimer had spoken

 with Defendant Yankee Smith, had informed her about Bank of America's final

 statement showing the wire transfer of $354,500 to the Co-Trustees on September

 29, 1999, and had been instructed by her not to speak or meet with Plaintiffs or

 their counsel about the Richardson Trust.

       THE LYLE R. SMITH AND SARAH Y. SMITH JOINT TRUST

              133. On October 11,2007, Dr. Smith and Yankee Smith created the

 Lyle R. Smith and Sarah Y. Smith Joint Trust ("Joint Trust") and Dr. Smith

 executed his Last Will and Testament. Defendants Holmes and Holmes & Stice

 drafted the Joint Trust and that Will, and represented both parties in those


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    transactions. The Joint Trust was revocable while both Trustees were living. After

    Dr. Smith's death, it became irrevocable and Yankee Smith became sole Trustee.

                 Dr. Smith's Will

                 134. Dr. Smith's will was a simple pass-through type will, under

    which all of his real and personal property at the time of his death transferred by

    operation of law to the Joint Trust. It states in relevant part that:

          I devise all of my tangible personal property . . . owned by me at the date of
          my death to LYLE R. SMITH and SARAH Y. SMITH, Trustees under the
          LYLE R. SMITH and SARAH Y. SMITH JOINT TRUST, dtd. 10-11-
          2007, executed prior to the execution of this Will on the 11th day of
          October, 2007, to be added to SCHEDULE B - LYLE R. SMITH
          SEPARATE PROPERTY, to be administered as provided in said Trust
          Agreement.
          I devise all the rest, residue and remainder of my property . . . wherever
          situated and whether acquired before or after the execution of this Will to
          LYLE R. SMITH and SARAH Y. SMITH, Trustees under the LYLE R.
          SMITH and SARAH Y. SMITH JOINT TRUST, dtd. 10-11-2007, executed
          prior to the execution of this Will on the 11th day of October, 2007, to be
          added to SCHEDULE B-LYLER. SMITH SEPARATE PROPERTY, to
          be administered as provided in said Trust Agreement.

                 The Joint Trust

                 135. The Joint Trust is a principal and income type trust. Before Dr.

    Smith's death on September 3, 2011, he and Defendant Yankee Smith were the

    joint income beneficiaries as well as the joint Trustees of the Joint Trust. Upon Dr.

    Smith's death, Yankee Smith became the sole Trustee and income beneficiary.




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               136. Plaintiffs Huntington Smith and Carolyn Puckett, and Anna

 Gabriela Richardson Smith are the remainder beneficiaries of the principal of the

 Joint Trust Estate.

               13 7. Defendant Yankee Smith herself denied several personal

 requests from Plaintiffs for a copy of the Joint Trust. In response to one such

 request, she responded that "I can't do that."

               138. By letter dated November 28, 2012, to an attorney then

 representing Plaintiffs in their struggle merely to obtain a copy of the Joint Trust,

 Defendants Holmes and Holmes & Stice, stated the following on behalf of Yankee

 Smith:

                     I have enclosed a copy of the Lyle and Sarah Smith Joint Trust,
              dtd.1 0-11-07, along with a copy of the transfer Deed of personal
              residence into the Trust. The only other assets would be the tangible
              personal property ofDr. Smith currently in the possession of Mrs.
              Sarah Smith, sole Trustee.

               139. Defendants Holmes, Holmes & Stice and Yankee Smith have

 never provided Plaintiffs with a copy of the transfer deed of personal residence into

 the Joint Trust.

              140. Defendant Yankee Smith has never provided Joint Trust

 remainder beneficiary Anna Gabriella Richardson Smith with any information or

 any documentation about the Joint Trust. Yankee Smith never even notified her of




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    the existence of the Joint Trust when it became irrevocable, as required by Tenn.

    Code Annot. § 35-15-813(b).

                 141 The first five paragraphs of the Lyle R. Smith and Sarah Y.

    Smith Joint Trust state as follows:

          THIS AREEMENT is made this 11th day of October, 2007, between LYLE
          R. SMITH and SARAH Y. SMITH, husband and wife, of Kingsport,
          Tennessee, as Settlors, and LYLE R. SMITH and SARAH Y. SMITH, as
          Trustees. This Trust shall be known as the "LYLE and SARAH Y. SMITH
          JOINT TRUST, dtd. 10-11-07."

          WHEREAS the Settlors hereby transfer to the Trustees the property listed in
          the attached Schedule A, which is the joint property of the Settlors, wherein
          each is a joint owner as a tenant in common.

          WHEREAS Settlor LYLE R. SMITH hereby transfers to the Trustees the
          property listed in the attached Schedule B, which is his separate property and
          which shall be maintained as a separate share known as the LYLE R.
          SMITH share.

          WHEREAS Settlor SARAH Y. SMITH hereby transfers to the Trustees the
          property listed in the attached Schedule B, which is her separate property
          and which shall be maintained as a separate share known as the SARAH Y.
          SMITH share.

          The property listed in these schedules, all additional property received by the
          Trustees from any person by Will or otherwise, and all investments and
          reinvestments thereto are herein collectively referred to as the "Trust
          Estate." Any joint property or separate property of '[Dr. Smith or Defendant
          Yankee Smith] which is transferred to or from the trust shall retain its same
          character after the transfer. The "Trust Estate" shall be held upon the
          following trusts: [Sections FIRST through EIGHTH, which are omitted]

                 142. The copy of Schedule A, Joint Property provided to Plaintiffs by

    Defendants Holmes, Holmes & Stice, and Yankee Smith contains ten numbered


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 lines. Line one states: "Cash- 100.00." The remaining nine lines on Schedule A

 are blank.

              143. Neither Schedule B nor Schedule C of the Joint Trust lists any

 personal property. The copies of Schedules B and C provided to Plaintiffs by those

 three Defendants contain only blank lines. Schedule B - Lyle R. Smith Separate

 Property, and Schedule C- Sarah Y. Smith Separate Property, each contains ten

 numbered blank lines.

              144. Section 2 of the FOURTH trust governs distribution of the Trust

       Estate after the death of Defendant Yankee Smith:

              SECTION 2: Upon the death of the SURVIVING SETTLOR
       [Defendant Yankee Smith], "the Trustee shall divide the balance of the Trust
       [Estate] to be distributed as provided" [in the following paragraphs (a)
       through (e) of Section 2, which together comprise the entirety of the rest of
       said Section 2].

              Paragraph (d) of Section 2 of the Joint Trust states in relevant part::

                     (d) The Trustee shall transfer the tangible personal property
              belonging to [Dr.] LYLE R. SMITH to [Plaintiffs and remainder
              beneficiaries] LYLE HUNTINGTON RICHARDSON SMITH [and]
              CAROLYN STEVENS RICHARDSON SMITH PUCKETT, and
              [remainder beneficiary] ANNA GABRIELLA [sic; correct form of
              middle name is Gabriela] RICHARDSON SMITH, subject to the
              transfer of certain items of [personal property] that shall be listed and
              distributed as stated in the attached SCHEDULE E. The ownership of
              said tangible personal property shall be determined in the sole
              discretion of the Successor Trustee, and as provided in the attached
              SCHEDULE E.




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                 145. Defendants Holmes, Holmes & Stice and Yankee Smith have

   never provided Plaintiffs or remainder beneficiaries with a copy of SCHEDULE E

   referenced in Joint Trust Section 2, paragraph (d).

                146. Paragraph (e) of Section 2 of the Joint Trust states in relevant

   part that: "[t]he rest and remainder of the Trust Estate shall be divided into three

   (3) equal and separate shares, to be distributed as follows: [three subparagraphs,

   (i), (ii) and (iii), which provide that "One (1) share shall be distributed outright and

   free of trust to [(i) PlaintiffHuntington Smith; (ii) Plaintiff Carolyn Puckett; and

   (iii) remainder beneficiary Anna Gabriela Richardson Smith; each receiving his or

   her share per stirpes]."

                147. During the same recent meeting between Plaintiffs counsel and

   the individual owner of MFS discussed above concerning the Richardson Trust,

  that individual mentioned to Plaintiffs' counsel that he was the financial adviser to

  Defendant Yankee Smith on a Joint Trust Estate investment account that he was

   managing. That individual added that he could not discuss that Joint Trust Estate

   investment account with Plaintiffs' counsel without Yankee Smith's consent.

                148. That statement by the current owner ofMFS to Plaintiffs'

  counsel that he was managing the Joint Trust Estate investment account was the

   first time that Plaintiffs or their counsel had ever heard that a Joint Trust Estate

  investment account even existed.


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                 149. Since becoming the sole surviving Trustee of the Joint Trust on

    September 3, 2011, Defendant Yankee Smith has refused to provide Plaitntiffs and

    remainder beneficiaries of the Joint Trust with any information in any manner or

    form about her administration of that Trust. Yankee Smith has never provided

    Plaintiffs and remainder beneficiaries with any financial reports, annual accounting

    reports, trustee reports or accountings, or any general accounting records for the

    administration of the Joint Trust Estate.

                 150. At all relevant times, Defendant Yankee Smith, acting in concert

    with Defendants Holmes and Holmes & Stice, has intentionally concealed all

    information and records about what real property, or what personal property of Dr.

    Smith or Yankee Smith, is in the Joint Trust Estate.

                 151. At no time has Defendant Yankee Smith acted in good faith,

    within the meaning of Tenn. Code Annot. § 35-2-102(b), toward Plaintiffs and

    remainder beneficiaries during her administration of the Joint Trust. Yankee Smith

    has deliberately disregarded their interests in the Joint Trust Estate.

                 152. At all relevant times, Defendant Yankee Smith, acting in concert

    with Defendants Holmes and Holmes & Stice, has obstructed and prevented

    Plaintiffs and remainder beneficiaries from obtaining any information or any

    documents disclosing material facts about the Joint Trust that are necessary for




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   them to determine what interests they have in the Joint Trust and to protect those

   interests, as required by Tenn. Code Annot. § 35-15-813.

                                  CLAIMS FOR RELIEF

                            FIRST CLAIM FOR RELIEF
                 (Defendants' Violations of RICO, 18 U.S.C. § 1962(c))

                 153. Plaintiffs reallege and incorporate herein by reference each and

   every foregoing paragraph of this Complaint as if set forth in full.

                 154. At all relevant times, each of the Plaintiffs is a person within the

   meaning of 18 U.S.C. §§ 1961(3) and 1962(c).

                 155. At all relevant times, each of the Defendants is a person within

   the meaning of 18 U.S.C. §§ 1961(3) and 1962(c).

                              Defendants' RICO Enterprise

                156. Defendant Yankee Smith and each ofher co-Defendants and co-

   conspirators are a group of persons associated together in fact for the common

   purpose of carrying out an ongoing criminal enterprise, as described in the

   foregoing paragraphs of this Complaint.

                157. Defendants have arranged their actions as a group to accomplish

   the goals of their criminal scheme.

                158. Over the years, Defendants have adapted their scheme to

   defraud Plaintiffs, first, by targeting their interests as remainder beneficiaries in the

   Richardson Trust principal until that principal was exhausted, and later, by

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    targeting the same Plaintiffs' interests as remainder beneficiaries of the Joint Trust

    principal.

                 159. Defendant Yankee Smith devised and has controlled and

    overseen each Defendant' participation in the scheme to defraud. Defendant

    Yankee Smith has directed all other Defendants to take actions necessary to

    accomplish the overall aims of the criminal enterprise.

                 160. Defendants, conspiring and acting in concert, constitute an

    association-in-fact enterprise within the meaning of 18 U.S.C. §§ 1961(4) and

    1962(c), referred to hereinafter simply as "the Enterprise." Each of the Defendants

    participated in the operation or management of the Enterprise.

                 161. At all relevant times, the Enterprise was engaged in, and its

    activities affected, interstate commerce within the meaning of 18 U.S.C. § 1962(c).

                 162. Defendants committed fraud by embezzlement from the

    Richardson Trust principal because they fraudulently appropriated to their own use

    money or goods entrusted to their fiduciary care by Plantiffs and remainder

    beneficiaries.

                     163. Defendants' wrongful acts committed against Plaintiffs and

    remainder beneficiaries concerning the Richardson Trust principal are indictable as

    separate counts of Class A felony theft in violation of Tenn. Code Ann.§§ 39-14-

    103(a) and 105(a)(6).


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              164. By reason of each Defendant's own conduct, each Defendant is

 indictable as criminally responsible under Tenn. Code Ann.§ 39-11-401 as a party

 to those acts and counts of Class A felony theft in violation of Tenn. Code Ann.

 §§ 39-14-103(a) and 105(a)(6).

              Pattern of Racketeering Activity and Predicate Crimes

              165. Defendants conducted or participated, directly or indirectly, in

 the conduct, management or operation of the Enterprise's affairs through a "pattern

 of racketeering activity" within the meaning of 18 U.S.C. § 1961(5) and in

 violation of 18 U.S.C. § 1962(c).

              166. Defendants willingly and knowingly devised, participated in and

 acted in concert in furtherance of a scheme or artifice to defraud Plaintiffs and

 remainder beneficiaries engaged in the Enterprise through a series of mailings and

 emails transmitted through interstate commerce.

              167. As described herein, Defendants engaged in a continuing

 scheme or artifice to defraud Plaintiffs by their conspiracy and collusion, in

 violation of 18 U.S.C. §§ 1341 and 1343.

              168. The ultimate objective of Defendants' scheme to defraud has

 been and continues to be the concealment of financial information about the

 principal in the Trusts, and appropriation or conversion of Plaintiffs' ownership

 interests in the principal comprising those Trusts.


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                  169. Defendants made materially false and fraudulent

   misrepresentations to Plaintiffs and remainder beneficiaries, including

   representations made with reckless indifference to their truth or falsity concerning

   the Richardson Trust.

                  170. Defendants' false, misleading and fraudulent statements about

   the Richardson Trust were relied upon by Plaintiffs and remainder beneficiaries.

                  171. Defendant Yankee Smith has concealed and withheld, and

   directed and instructed her co-conspirators and co-Defendants to conceal and

   withhold, material financial information and records about the Trusts.

                  172. Defendants willingly and knowingly committed several counts

   of acts indictable as federal criminal mail fraud and wire transfer fraud concerning

   the Richardson Trust, and indictable as federal criminal mail fraud concerning the

   Joint Trust.

                  Multiple Counts of Federal Mail Fraud and Wire Fraud

                  173. In furtherance of their scheme, and as described herein,

   Defendants transmitted, or caused to be transmitted, by means of wire

   communication in interstate commerce, emails and electronic transfers of funds,

   and also caused matters and things to be placed in a post office or authorized

   depository, or deposited or caused to be deposited matters and things to be sent or

   delivered by a private or commercial interstate carrier, including the following:


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                ( 1) Three counts of acts by Defendants, participating in the

          Enterprise in furtherance of a scheme to defraud Plaintiffs and remainder

          beneficiaries, that are indictable as federal criminal mail fraud in violation of

          18 U.S.C. § 1341, to wit:

                        (i). the mailing by Defendants Holmes and Yankee Smith to
          Plaintiffs on or about May 20, 1999, of copies of the Richardson Trust
          Agreement that intentionally omitted the integral and attached schedule of
          assets placed in the Richardson Trust and transferred and delivered to the
          original Trustee when the Trust was established on May 16, 1963; and

                      (ii). the mailing to Plaintiffs by Defendants Holmes and
          Holmes & Stice on behalf of Defendant Yankee Smith of a letter dated
          October 5, 2011, enclosing a copy ofMessimer-MFS Report Package 3;

                       (iii). the mailing to Plaintiffs by Defendants Holmes and
          Holmes & Stice on behalf of Defendant Yankee Smith of a letter dated
          November 28, 2012, enclosing a copy of the Joint Trust omitting Schedule E
          and a transfer deed of personal residence that the letter represented was also
          enclosed.

                (2) Eight counts of acts by Defendants, participating in the

          Enterprise in furtherance of a scheme to defraud Plaintiffs and remainder

          beneficiaries, that are indictable as federal criminal wire transfer fraud in

          violation of 18 U.S.C. § 1343, to wit:

                      (i). the electronic transmissions made by or caused to be made
          by Defendants Holmes and Holmes & Stice, on behalf of Defendant Yankee
          Smith, of emails and enclosed spreadsheets prepared by Holmes and
          containing and reflecting financial information obtained from Defendants
          Messimer and MFS, dated November 3, 4 (11:44 a.m. and 3:38p.m.), 8, 9,
          10, 14;and



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                        (ii). the wire transfer by Defendants Holmes and Holmes &
                 Stice, on behalf of Defendant Yankee Smith, of Richardson Trust
                 principal in an amount falsely and fraudulently claimed by all
                 Defendants to be the entirety of that Trust principal.

                 174. Each ofYankee Smith's co-Defendants is also liable for

    personally committing predicate racketeering acts of mail fraud and/or wire

    transfer fraud in violation of 18 U.S.C. §§ 1341 and 1343 because each defendant

    aided and abetted the commission of such predicate racketeering acts.

                 175. Each of the Defendants has engaged in multiple predicate acts,

    as described herein. The conduct of each of the Defendants constitutes a pattern of

    racketeering activity with the meaning of 18 U.S.C. § 1961(5).

                 176. Plaintiffs were injured in their business or property by reason of

    Defendants' violations of 18 U.S.C. § 1962(c). The injuries to Plaintiffs caused by

    Defendants' violations of 18 U.S.C. § 1962(c) include loss of personal property.

                 177. These injuries to Plaintiffs were a direct, proximate and

    reasonably foreseeable result of Defendants' violations of 18 U.S.C. § 1962(c).

    Plaintiffs are the victims of Defendants' unlawful Enterprise. Plaintiffs have been

    and will continue to be injured in an amount to be determined at trial.

                 177. Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover

    treble damages plus costs and attorneys' fees from Defendants.

                 178. Plaintiffs are further entitled to, and should be awarded,

    appropriate injunctive relief against Defendants to protect them from Defendants'

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 continuing scheme to obstruct their rights and knowledge concerning the amount

 of principal in the Joint Trust.

                    SECOND CLAIM FOR RELIEF
          (Defendants' Conspiracy to Violate RICO, 18 U.S.C. § 1962(d)

              179. Plaintiffs reallege and incorporate herein by reference each and

 every foregoing paragraph of this Complaint as if set forth in full.

               180. Defendants have unlawfully, knowingly and willfully combined,

 conspired and agreed together to violate 18 U.S.C. § 1962(c) as described above, in

 violation of 18 U.S.C. § 1962(d).

              181. Upon information and belief, Defendants knew that they were

 engaged in a conspiracy to commit the predicate acts, and they knew that the

 predicate acts were part of such racketeering activity, and the participation and

 agreement of each of them was necessary to allow the commission of this pattern

 of racketeering activity. Defendants' conduct constitutes a conspiracy to violate 18

 U.S.C. § 1962(c), in violation of 18 U.S.C. § 1962(d).

              182. Upon information and belief, Defendants agreed to conduct or

 participate, directly or indirectly, in the conduct, management or operation of the

 Enterprise's affairs through a pattern of racketeering activity in violaition of 18

 U.S.C. § 1962(c).

              183. Each Defendant knew about and agreed to facilitate the

 Enterprise's scheme to defraud Plaintiffs and remainder beneficiaries concerning

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    their ownership interests in the principal in each Trust. It was a part of the

    conspiracy that Defendants would commit a pattern of racketeering activity in the

    conduct of the affairs of the Enterprise, including the acts of racketeering set forth

    herein.

                  184. As a direct and proximate result of Defendants' conspiracy, the

    acts of racketeering activity of the Enterprise, the overt acts taken in furtherance of

    that conspiracy, and Defendants' violations of 18 U.S.C. § 1962(d), Plaintiffs have

    been injured in their property and will continue to be injured in an amount to be

    determined at trial.

                  185. Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to recover

    treble damages plus costs and attorneys' fees from Defendants.

                  186. Plaintiffs are further entitled to, and should be awarded,

    appropriate injunctive relief against Defendants to protect them from Defendants'

    continuing scheme to obstruct their rights and knowledge concerning the amount

    of principal in the Joint Trust.

                               THIRD CLAIM FOR RELIEF
                                   (Unjust Enrichment)

                 187. Plaintiffs reallege and incorporate herein by reference each and

    every foregoing paragraph of this Complaint as if set forth in full.

                 188. Through their unauthorized withdrawals and their tortiuous,

    illegal and fraudulent conduct, as set forth herein, Defendants have appropriated

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 approximately $304,276.51 of funds from Richardson Trust principal owned by

 Plaintiffs and remainder beneficiaries.

              189. That amount of unlawful proceeds from Richardson Trust

 principal constitutes Defendants' ill-gotten gains to which they have no right or

 claim.

              190. Defendants should be prevented from receiving any benefits

 arising out of their wrongful conduct against Plaintiffs and remainder beneficiaries

 by this Court's use of the equitable remedies of disgorgement and restitution.

                         FOURTH CLAIM FOR RELIEF
                          (Defendants' Civil Conspiracy)

              191. Plaintiffs reallege and incorporate herein by reference each and

 every foregoing paragraph of this Complaint as if set forth in full.

              192. As set forth above, Defendants have committed torts and wrongs

 against Plaintiffs and remainder beneficiaries, including acts of racketeering giving

 rise to violations of RICO, fraud, conversion, and unjust enrichment.

              193. Defendants agreed to participate in a common scheme against

 Plaintiffs and remainder beneficiaries, and intentionally participated in the

 furtherance of a plan or purpose to illegally obtain property from them. In

 furtherance of this plan or purpose, Defendants committed overt and unlawful acts,

 including acts of racketeering as alleged herein.



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                 194. As a direct and proximate result of Defendants' conspiracy, the

    overt acts committed in furtherance of that conspiracy, and the torts committed

    against Plaintiffs, Plantiffs have been damaged in their property, and further

    damage to their property in the Joint Trust is threatened and imminent.

                            FIFTH CLAIM FOR RELIEF
           (Fraud by Intentional Misrepresentation of False Material Facts)

                 195. Plaintiffs reallege and incorporate herein by reference each and

    every foregoing paragraph of this Complaint as if set forth in full.

                 196. Each of the Defendants had knowledge, pursuant to Tenn. Code

    Annot. § 35-15-104(a), that each time they represented to Plaintiffs and remainder

    beneficiaries on November 8, 2011, the false material fact that the total amount of

    Richardson Trust estate principal to be distributed pursuant to the terms of the

    Richardson Trust was $199,569.97, they had knowledge, pursuant to Tenn. Code

    Annot. § 35-15-104(a), that such representation was false.

                 197. Defendants intended that Plaintiffs and remainder beneficiaries

    would rely upon Defendants' representation of the false material fact that the total

    amount of Richardson Trust estate principal to be distributed pursuant to the terms

    of the Richardson Trust was $199,569.97, and act in reliance upon the truth of that

    representation.




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                198. Plaintiffs and remainder beneficiaries did not know at the time

   that Defendants' representation that the total amount of Richardson Trust estate

   principal to be distributed pursuant to the terms of the Richardson Trust was

   $199,569.97 was a false representation of a material fact.

                199. Plaintiffs and remainder beneficiaries were justified in light of

   the circumstances and their knowledge to rely upon the truth ofDefendants'

   representation that the total amount of Richardson Trust estate principal to be

   distributed pursuant to the terms of the Richardson Trust was $199,569.97.

                200. As a result of Defendants' intentional false representation to

   Plaintiffs and remainder beneficiaries that the total amount of Richardson Trust

   estate principal to be distributed pursuant to the terms of the Richardson Trust was

   $199,569.97, Plaintiffs and remainder beneficiaries sustained damages.

                 201. Defendants acted in concert and colluded in knowingly

   representing to Plaintiffs and remainder beneficiaries the false material fact that the

   total amount of Richardson Trust estate principal to be distributed pursuant to the

   terms of the Richardson Trust was $199,569.97.

                202. Defendant Yankee Smith is personally at fault because of her

   own willful misconduct in knowingly representing to Plaintiffs and remainder

   beneficiaries the false material fact that the total amount of Richardson Trust estate

   principal to be distributed pursuant to the terms of the Richardson Trust was


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    $199,569.97, and is therefore personally liable in her personal capacity in addition

    to her liability in her fiduciary capacity for such intentional misrepresentations

    pursuant to Tenn. Code Annot. § 35-15-1010(c).

                 203. Defendant Yankee Smith is also liable in her capacity as a Co-

    Trustee and surviving Co-Trustee for knowingly representing to Plaintiffs and

    remainder beneficiaries the false material fact that the total amount of Richardson

    Trust estate principal to be distributed pursuant to the terms of the Richardson

    Trust was $199,569.97.

                 204. Defendants are jointly and severally liable for committing fraud

    by intentional misrepresentation of material facts in knowingly representing to

    Plaintiffs and remainder beneficiaries the false material fact that the total amount

    of Richardson Trust estate principal to be distributed pursuant to the terms of the

    Richardson Trust was $199,569.97.

                           SIXTH CLAIM FOR RELIEF
       (Fraud by Intentional Misrepresentation by Omission of Material Facts)

                 205. Plaintiffs reallege and incorporate herein by reference each and

    every foregoing paragraph of this Complaint as if set forth in full.

                 206. When Defendants represented to Plaintiffs and remainder

    beneficiaries on November 8, 2011, the false material fact that the total amount of

    Richardson Trust estate principal to be distributed pursuant to the terms of the



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    Richardson Trust was $199,569.97, they concealed the material fact that the

    amount of Richardson Trust estate transferred by Bank of America to the Co-

    Trustees on September 29, 1999, was $354,500.00.

                 207. Defendants intentionally concealed from Plaintiffs and

    remainder beneficiaries the material fact that the amount of Richardson Trust estate

    transferred by Bank of America to the Co-Trustees on September 29, 1999, was

    $354,500, with the intent to deceive Plaintiffs and remainder beneficiaries.

                 208. Plaintiffs and remainder beneficiaries were not aware of the

    material fact that the amount of Richardson Trust estate transferred by Bank of

    America to the Co-Trustees on September 29, 1999, was $354,500, and would

    have acted differently if they had known that material fact.

                 209. As a result of Defendants' intentional concealment and omission

    of the material fact that the amount of Richardson Trust estate transferred by Bank

    of America to the Co-Trustees on September 29, 1999, was $354,500, Plaintiffs

    and remainder beneficiaries sustained damages.

                 210. Defendants acted in concert and colluded in intentionally

    concealing from Plaintiffs and remainder beneficiaries the material fact that the

    amount of Richardson Trust estate transferred by Bank of America to the Co-

    Trustees on September 29, 1999, was $354,500.




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              211. Defendant Yankee Smith is personally at fault because of her

 own willful misconduct in intentionally concealing from Plaintiffs and remainder

 beneficiaries the material fact that the amount of Richardson Trust estate

 transferred by Bank of America to the Co-Trustees on September 29, 1999, was

 $354,500, and is therefore personally liable in her personal capacity in addition to

 her liability in her fiduciary capacity for such fraudulent and intentional

 misrepresentations by concealment or by omission, pursuant to Tenn. Code Annot.

 § 35-15-101 0(c).

              222. Defendant Yankee Smith is also liable in her capacity as a Co-

 Trustee and Trustee for intentionally concealing from Plaintiffs and remainder

 beneficiaries the material fact that the amount of Richardson Trust estate

 transferred by Bank of America to the Co-Trustees on September 29, 1999, was

 $354,500.

              223. Defendants are jointly and severally liable for committing fraud

 or intentional misrepresentation by omission and by concealment by intentionally

 concealing from Plaintiffs and remainder beneficiaries the material fact that the

 amount of Richardson Trust estate transferred by Bank of America to the Co-

 Trustees on September 29, 1999, was $354,500.




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                         SEVENTH CLAIM FOR RELIEF
               (Defendants' Conversion of Plaintiffs' Personal Property)

                 224. Plaintiffs reallege and incorporate herein by reference each and

    every foregoing paragraph of this Complaint as if set forth in full.

                 225. The Co-Trustees' withdrawals of$50,000 and $20,000, and

    Defendant Yankee Smith's withdrawal of$24,000, from the Richardson Trust

    principal each constitutes the commission of an act of conversion of personal

    property owned exclusively by Plaintiffs and remainder beneficiaries.

                 226. Each of the Defendants had knowledge, pursuant to Tenn. Code

    Annot. § 35-15-104(a), that the Richardson Trust was a principal and income trust,

    and that the Co-Trustees were not authorized or permitted by the provisions of the

    Richardson Trust instrument to withdraw any funds from the Trust principal.

                 227. When the $50,000 and $20,000 withdrawals from the

    Richardson Trust principal by the Co-Trustees were made, Defendants Yankee

    Smith, Messimer and MFS had knowledge, pursuant to Tenn. Code Annot. § 35-

    15-104(a), that those withdrawals were not authorized or permitted by the terms of

    the Richardson Trust Agreement.

                 228. When Defendants Holmes, Holmes & Stice, PLC, and Yankee

    Smith sent emails or telefax to Plaintiffs and remainder beneficiaries during the

    period from November 3 to November 8, 2011, with Holmes' self-prepared

    spreadsheets showing the $50,000 and $20,000 withdrawals by the Co-Trustees

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 from the Richardson Trust principal, each of those Defendants had knowledge,

 pursuant to Tenn. Code Annot. § 35-15-104(a), that those withdrawals were not

 authorized or permitted by the Richardson Trust Agreement.

              229. On information and belief, the Co-Trustees made an unknown

 number of additional withdrawals from the Richardson Trust principal in unknown

 amounts between September 29, 1999, and September 5, 2005.

              230. The Co-Trustees' withdrawals of personal property ofPlaintiffs

 and remainder beneficiaries from the Richardson Trust principal were made

 without the their consent and without any authority of law, and constituted the

 withholding of said personal property under a claim of title inconsistent with the

 claim and right of title of Plaintiffs and remainder beneficiaries ..

              231. By withdrawals from the Richardson Trust principal, the Co-

 Trustees took dominion and control over personal property of Plaintiffs and

 remainder beneficiaries by excluding their exclusive ownership rights in that

 property.

              232. Each conversion of funds from the Richardson Trust principal

 by the Co-Trustees and Defendant Sarah Yankee Smith permanently deprived

 Plaintiffs and remainder beneficiaries of ownership and use of the funds so

 converted.




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                233. Defendants acted in concert and colluded among themselves in

   allowing and in concealing by dishonest means the unpermitted and unauthorized

   withdrawals of funds from Richardson Trust principal described above, thereby

   depriving Plaintiffs and remainder beneficiaries of their ownership rights in those

   funds. By reason of each Defendant's own conduct and participation in acts

    appropriating the personal property of Plaintiffs and remainder beneficiaries, each

   Defendant is liable for commission of state common law torts of conversion

                234 As a result of Defendants' actions in concert and collusion in the

   commission and concealment of acts of conversion of personal property of

   Plaintiffs and the remainder beneficiaries from the Richardson Trust principal,

   Plaintiffs and remainder beneficiaries sustained damages.

                235. Defendant Yankee Smith is personally at fault for each ofher

   conversions of personal property, namely, money, owned by Plaintiffs and

   remainder beneficiaries and withdrawn from the Richardson Trust principal

   because of her own willful misconduct in her acts of conversion during her

   administration of that Trust, and therefore is liable in her personal capacity in

   addition to her liability in her fiduciary capacity, pursuant to Tenn. Code Annot.

   § 35-15-lOlO(c).




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              236. Defendant Sarah Yankee Smith is liable in her capacity as a Co-

 Trustee and Trustee for her commission of acts of conversion of personal property

 of Plaintiffs and remainder beneficiaries from the Richardson Trust principal

 during her administration of that Trust, pursuant to Tenn. Code Annot. § 35-15-

 1010(d).

              237. Defendants are jointly and severally liable for the above

 conversions of personal property of Plaintiffs and remainder beneficiaries from the

 Richardson Trust principal.

              238. The Co-Trustees failed to deposit into the Richardson Trust

 principal any of the $19,853.25 refund for excessive administration fees paid to Dr.

 Lyle R. Smith by Bank of America on an unknown date before August 19, 1999, as

 unpaid income and to the Richardson Trust principal as a refund for excess

 administration fees charged against its Richardson Trust principal.

              239. The Co-Trustees' failure to deposit into the Richardson Trust

 principal any portion of the $19,853.25 reimbursed to Dr. Smith as unpaid income

 and to the Trust for recovery of administration fees charges against the Trust

 principal constitutes a conversion of the personal property of plaintiffs' and

 remainder beneficiaries from the Trust principal.




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                240. Each such withdrawal constitutes Defendant Yankee Smith's

   commission of an act of conversion of personal property owned by Plaintiffs and

   remainder beneficiaries.

                           EIGHTH CLAIM FOR RELIEF
               (Breach of Statutory and Common Law Fiduciary Duty)

                241. Plaintiffs reallege and incorporate by reference the allegations

   contained in paragraphs above, as if fully set forth herein.

                242. At relevant times, each of the Defendants was a fiduciary for the

   Richardson Trust pursuant to Tenn. Code Annot. §§ 35-2-102(a)(2), 35-6-102(3)

   and 35-15-1 02( a)(2).

                243. Defendants had a duty of trust and fiduciary duty to disclose to

   Plaintiffs and remainder beneficiaries the material fact that the amount of

   Richardson Trust estate transferred to the Co-Trustees on September 29, 1999,

   was $354,500.

                244. Through the actions set forth above, each of the Defendants

   committed state common law breach of fiduciary duty in the administration of the

   Richardson Trust, and breach of state statutory fiduciary duty in violation of Tenn.

   Code Annot. §§ 35-6-103 and 35-15-807(b) and 815(b).

                245. Each of the Defendants is liable to Plaintiffs for violations of

   Tenn. Code Annot. §§ 35-6-103 and 35-15-807(b) and 815(b).



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                        BREACHES OF RICHARDSON TRUST

                           NINTH CLAIM FOR RELIEF
               (Duty to Administer Trust in Accordance with Its Terms)

                 246. Plaintiffs reallege and incorporate herein by reference each and

    every foregoing paragraph of this Complaint as if set forth in full.

                 24 7. Through the actions set forth above, Defendant Yankee Smith

    committed breach of trust against Plaintiffs and remainder beneficiaries by

    breaching her duty to administer the Richardson Trust Agreement in accordance

    with its terms and purposes, and in accordance with the Tennessee Unform Trust

    Code, Tenn. Code Annot., Title 35, Chapter 15, in violation of Tenn. Code Annot.

    §§ 35-15-801; 35-6-103(b) and 35-15-105(b)(2), 801, 804 and 815(a)(l).

                 248. Defendant Yankee Smith is liable to Plaintiffs for her violations

   ofTenn. Code Annot. §§ 35-15-801; 35-6-103(b) and 35-15-105(b)(2), 801, 804

    and 815(a)(1).

                             TENTH CLAIM FOR RELIEF
                            (Duty of Loyalty to Beneficiaries)

                 249. Plaintiffs reallege and incorporate by reference the allegations

   contained in paragraphs above, as if fully set forth herein.

                 250. Through the actions set forth above, Defendant Yankee Smith

   committed breaches of trust against Plaintiffs and remainder beneficiaries, by

   breaching her duty of loyalty to the beneficiaries in administering the Richardson


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   Trust Agreement, and by breaching her duty to administer that Trust in the interest

   ofthe remainder beneficiaries, in violation ofTenn. Code Annot. §§ 35-15-801,

   802(a) and 105(b)(2).

                251. Defendant Yankee Smith is liable to Plaintiffs for her violations

   ofTenn. Code Annot. §§ 35-15-801, 802(a) and 105(b)(2).

                         ELEVENTH CLAIM FOR RELIEF
                     (Duty to Control and Protect Trust Property)

                252. Plaintiffs reallege and incorporate herein by reference each and

   every foregoing paragraph of this Complaint as if set forth in full.

                253. Through the actions set forth above, Defendant Yankee Smith

   committed breach of trust against Plaintiffs and remainder beneficiaries by

   breaching her duty to control and protect Richardson Trust estate property during

   her administration ofthat Trust, in violation of Tenn. Code Annot. § 35-15-809.

                254. Defendant Yankee Smith is liable to Plaintiffs for her violations

   ofTenn. Code Annot. § 35-15-809.

                           TWELFTH CLAIM FOR RELIEF
                           (Duty to Distribute Trust Property)

                255. Plaintiffs reallege and incorporate herein by reference each and

   every foregoing paragraph of this Complaint as if set forth in full.

                256. Through the actions set forth above, Defendant Yankee Smith

   committed breach of trust against Plaintiffs and remainder beneficiaries by


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 breaching her duty to distribute all of the Richardson Trust principal property after

 partial termination ofthe Trust, in violation of Tenn. Code Annot. § 35-15-817(b).

              257. Defendant Sarah Yankee Smith is liable to Plaintiffs for her

 violations ofTenn. Code Annot. § 35-15-817(b).

                     THIRTEENTH CLAIM FOR RELIEF
                (Duty to Act Impartially Toward the Beneficiaries)

              258. Plaintiffs reallege and incorporate herein by reference each and

 every foregoing paragraph of this Complaint as if set forth in full.

              259. Through the actions set forth above, Defendant Yankee Smith

 committed breach of trust against Plaintiffs and remainder beneficiaries by

 breaching her duty to act impartially toward those beneficiaries in administering

 the Richardson Trust, in violation of Tenn. Code Annot. § 35-15-803.

              260. Defendant Yankee Smith is liable to Plaintiffs for her violations

 of Tenn. Code Annot. § 35-15-803.

                    FOURTEENTH CLAIM FOR RELIEF
       (Duty to Keep Beneficiaries Informed About Trust Administration)

              261. Plaintiffs reallege and incorporate herein by reference each and

 every foregoing paragraph of this Complaint as if set forth in full.

              262. Through the actions set forth above, Defendant Yankee Smith

 committed breaches of trust against the Plaintiffs and remainder beneficiaries by

 breaching her duty to keep them reasonably informed about administration of the


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   Richardson Trust and about the material facts necessary for them to protect their

   interests, in violation of Tenn. Code Annot. § 35-15-813(a)(l).

                263. Defendant Yankee Smith is liable to Plaintiffs for her violations

   of Tenn. Code Annot. § 35-15-813(a)(l).

                            BREACHES OF JOINT TRUST

                      FIFTHTEENTH CLAIM FOR RELIEF
         (Duty to Keep Beneficiaries Informed About Trust Administration)

                264. Plaintiffs reallege and incorporate herein by reference each and

   every foregoing paragraph of this Complaint as if set forth in full.

                265. Defendant Yankee Smith, in her administration of the Joint

   Trust Agreement as sole Trustee, has committed breach of trust against Plaintiffs

   and remainder beneficiaries by breaching her duty to keep those beneficiaries

   reasonably informed about the administration of the Joint Trust and about the

   material facts about administration of the Joint Trust necessary for the remainder

   beneficiaries to protect their interests, and by breaching her duty to inform each

   remainder beneficiary that an irrevocable trust has been established and by failing

   to provide each such beneficiary either a complete copy or an abstract of the Joint

   Trust, in violation ofTenn. Code Annot. § 35-15-813(a)(l)

                266. Defendant Yankee Smith is liable to Plaintiffs for her violations

   of Tenn. Code Annot. § 35-15-813(a)(l).



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                         SIXTEENTH CLAIM FOR RELIEF
                           (Duty of Loyalty to Beneficiaries)

               267. Plaintiffs reallege and incorporate herein by reference each and

  every foregoing paragraph of this Complaint as if set forth in full.

               268. Defendant Yankee Smith, in her administration of the Joint

  Trust as sole Trustee, has committed breach of trust against Plaintiffs and

  remainder beneficiaries by breaching her duty of loyalty to those beneficiaries in

  administering the Richardson Trust, and by breaching her duty to administer that

  Trust in the interest of those beneficiaries, in violation of Tenn. Code Annot. §§

  35-15-801, 802(a) and 105(b)(2).

               269. Defendant Yankee Smith is liable to Plaintiffs for her violations

  ofTenn. Code Annot. §§ 35-15-801, 802(a) and 105(b)(2).

                     SEVENTEENTH CLAIM FOR RELIEF
           (Duty of Record keeping and Identification of Trust Property)

               268. Plaintiffs reallege and incorporate herein by reference each and

  every foregoing paragraph of this Complaint as if set forth in full.

               269. Defendant Yankee Smith, in her administration of the Joint

  Trust as sole Trustee, has committed breach of trust against Plaintiffs and

  remainder beneficiaries by breaching her duty to keep adequate records of her

  administration of the Joint Trust, her duty to keep Joint Trust Estate property

  separate from the Co-Trustees' own property, and failing to cause the Trust Estate


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   property to be designated so that the interest of the Joint Trust Estate appears in

   records maintained by a party other than the Trustee or any beneficiary, in

   violation of Tenn. Code Annot. § 35-15-810(a) ,(b) and (c).

                270. Defendant Yankee Smith is liable to Plaintiffs for her violations

   of Tenn. Code Annot. § 35-15-810(a) and (b).

                                   PRAYER FOR RELIEF

                WHEREFORE, Plaintiffs pray for judgment as set forth below:

                On the First and Second Claims for Relief:

                1. For general damages according to proof at trial, trebled according

   to statute, 18 U.S.C. § 1964(c);

                2. For prejudgment interest according to statute;

                3. For Plaintiffs' reasonable attorney's fees and costs according to

   statute, 18 U.S.C. § 1964(c);

                On the First through and Eighth Claims for Relief:

                4. For general damages according to proof at trial;

                5. For equitable relief as appropriate pursuant to applicable law; and

                6. Only for the Fourth through Eighth Claims for Relief, punitive

   damages in an amount to be determined at trial, including but not limited to

   punitive damages for Defendant Yankee Smith's breaches oftrust, pursuant to

   Tenn. Code Annot. § 35-15-1002;


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                 On the Ninth through and Fourteenth Claims for Relief

  (Richardson Trust):

                 7. For equitable relief as appropriate pursuant to applicable law;

                 8. For declaratory judgment as appropriate pursuant to applicable

  law, including but not limited to a declaration that the Richardson Trust has not

  been fully and fmally terminated because most of the Richardson Trust principal

  remains in the possession ofDefendant Yankee Smith; and

                 9. For injunctive relief concerning the Richardson Trust estate or

  principal, pursuant to the equitable authority of this Court, and including equitable

  remedies as set forth in Tenn.Code Annot. §§ 35-15-1001(b) and 35-15-1004(a),

  including but not limited to, issuance of an Order that:

                 a. Appoints a Special Fiduciary to possess and administer the portion

  of the Richardson Trust estate and principal that remains in the illegal possession

  ofDefendant Yankee Smith, pursuant to Tenn. Code Annot. § 35-15-1001(b)(5);

                 b. Directs and authorizes the Special Fiduciary to:

                       i. Prepare an accounting for all Richardson Trust

  administration since August 19, 1999, pursuant to Tenn. Code Annot. § 35-15-

  100 1(b)(4);




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                      ii. Trace all Richardson Trust property wrongfully disposed of

  or wrongfully appropriated and recover the property or its proceeds, pursuant to

  Tenn. Code Annot. § 35-15-1001(b)(9);

               c. Requires Defendant Yankee Smith to pay all costs and expenses

  incurred by the Special Fiduciary in performing the actions described in the

  foregoing paragraphs 9.b.i and 9.b.ii;

               d. Requires Defendant Yankee Smith to cooperate fully with any

  actions and requests by the Special Fiduciary in performing the actions described

  in the foregoing paragraphs 9.b.i and 9.b.ii; and

               e. Provides for any other appropriate relief provided in Tenn. Code

  Annot., Title 35, Chapter 15, or available at common law or under equity

  principles, pursuant to Tenn. Code Annot. § 35-15-1001(b)(l0);

                  On the Fifteenth through and Seventeenth Claims for Relief
                               (Joint Trust Estate):

               10. For injunctive and declaratory relief concerning the Joint Trust

  Estate or principal, pursuant to this Court's own equitable authority, including but

  not limited to equitable remedies as set forth in Tenn .. Code Annot. §§ 35-15-

  lOOl(b) and 35-15-1004(a), including but not limited to, issuance of an Order that:

               a. Imposes a constructive trust on all real and personal property in the

  Joint Trust Estate, including but not limited to all personal property located at 613

  Ridgefields Road, Kingsport, Tennessee, that is not specifically identified and

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   listed on Schedule B of the Joint Trust as the separate personal property of Lyle R.

   Smith, and that is not specifically identified and listed on Schedule C of the Joint

  Trust as the separate personal property of Defendant Yankee Smith, pursuant to

  Tenn. Code Annot. § 35-15-100l(b)(9);

                b. Declares as void any act of any Settlor or Trustee that is in

   violation of any terms of the Joint Trust or applicable provisions of the Tennessee

   Code Annotated, pursuant to Tenn. Code Annot. § 35-15-1001(b)(9);

                c. Suspends Defendant Yankee Smith as the Trustee of the Joint

  Trust, pursuant to Tenn. Code Annot. § 35-15-100l(b)(6);

                d. Removes Defendant Yankee Smith as the Trustee of the Joint Trust

  for her commission of serious breaches of trust and for her unfitness by conduct or

  character, unwillingness and persistent failure to administer the Joint Trust Estate

  effectively and in accordance with the terms of the Joint Trust Agreement,

  pursuant to this Court's own equitable authority, including removal of a trustee as

  provided in Tenn. Code Annot. §§ 35-15-100l(b)(7) and 35-15-706;

                e. Declares as void and of no legal effect the provision of the Joint

  Trust Agreement entitled SECOND that provides that in the event of death, or

  disability or resignation of Defendant Yankee Smith so that she is unable or

  unwilling to perform her duties as Trustee of the Joint Trust Estate, her sister shall

  serve as Successor Trustee;


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                 f. Appoints a Special Fiduciary to possess and administer the Joint

  Trust Estate, pursuant to Tenn. Code Annot. § 35-15-1001(b)(5);

                 g. Directs and authorizes the Special Fiduciary to:

                       i. Prepare an accounting for all Joint Trust Estate

  administration since October 11, 2007, pursuant to Tenn. Code Annot. § 35-15-

   1001(b)(4);

                       ii. Trace all Joint Trust Estate property wrongfully disposed of

   or wrongfully appropriated and recover the property or its proceeds, pursuant to

  Tenn. Code Annot. § 35-15-1001(b)(9); and

                       iii. Determine whether Defendant Yankee Smith has kept Joint

  Trust Estate property separate from her own personal property and separate from

  the personal property of Dr. Smith, pursuant to Tenn. Code Annot.

  § 35-15-810(c);

                 h. Requires Defendant Yankee Smith to pay all costs and expenses

  incurred by the Special Fiduciary in performing the actions described in the

  foregoing paragraphs 1O.b.i, 1O.b.ii. and 1O.b.iii;

                 i. Requires Defendant Yankee Smith to cooperate fully with any

  actions and requests by the Special Fiduciary in performing the actions described

  in the foregoing paragraphs IO.b.i, 10.b.ii. and 10.b.iii; and




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               j. Orders any other appropriate relief provided in Tennessee Code

 Annotated Title 35, Chapter 15, or available at common law or under equity

  principles, pursuant to Tenn. Code Annot. § 35-15-1001(b)(10).

                As to All Causes of Action and Claims for Relief:

                11. For such other legal and equitable relief as the Court may deem

  Plaintiffs are entitled to receive.




                                                 ~~v-M&Ju
                                                LAWRENCE W. PUCKETT
                                                Counsel for Plaintiffs
                                                5909 Brunswick Street
                                                Springfield, Virginia 22150
                                                Active Member of District of
                                                    Columbia Bar in Good Standing,
                                                    MemberNo.343905
                                                Admitted to Bar of U.S. District
                                                    Court, Eastern District of
                                                    Tennessee, on May 18, 2015




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